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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

The State of Texas, et. al.,

                                Plaintiffs,           Case No. 4:20-CV-957-SDJ

 v.
                                                      Hon. Sean D. Jordan
Google LLC,

                                Defendant.



                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the unredacted Complaint, previously filed

under seal, was served by electronic mail on outside counsel of record for Google on Friday,

January 22, 2021:

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